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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


3M COMPANY,
                                                    Case No.: 20-cv-1371 (ECT/KMM)
              Plaintiff,
       v.
                                                    NOTICE OF DISMISSAL
LEGACY MEDICAL SUPPLIES, LLC.,                  PURSUANT TO RULE 41(a)(1)(A)(i)
MARK ECKHARDT, CAROL ANN
KORPI, JOSEPH NELSON, JEREMY
REBOULET, and DOES 1-10, whose true
names are largely unknown.

              Defendants.


       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff 3M Company

hereby dismisses its claims without prejudice against the Defendant Mark Eckardt, the last

remaining named-defendant in the above-captioned action. Because Mr. Eckardt has not

served an answer or motion for summary judgment in this matter, this dismissal is effective

without further order by the Court. See Fed. R. Civ. P. 41(a)(1)(A)(i).

                                           MASLON LLP

Dated: February 3, 2021                    By: /s/John T. Duffey
                                              William Z. Pentelovitch (#85078)
                                              John T. Duffey (#0392157)
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                                           ATTORNEYS FOR PLAINTIFF
                                           3M COMPANY
